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16                              UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA

18                                  SAN FRANCISCO DIVISION

19

20    IN RE GOOGLE PLAY STORE                  Case No. 3:21-md-02981-JD
      ANTITRUST LITIGATION
21
      THIS DOCUMENT RELATES TO:                DECLARATION OF DAVID
22                                             KLEIDERMACHER IN SUPPORT OF
      Epic Games Inc. v. Google LLC et al.,    GOOGLE’S OBJECTIONS TO
23    Case No. 3:20-cv-05671-JD                PROPOSED INJUNCTION
24                                             Judge: Hon. James Donato
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 1                        DECLARATION OF DAVID KLEIDERMACHER

 2          1.     I, David Kleidermacher, am Vice President of Engineering for Security and Privacy

 3 for Android and Made-by-Google Products and Services. Since I joined Google in 2017, I have

 4 been responsible for Android security and privacy engineering. I am familiar with Google’s efforts

 5 to combat the harmful effects of malware on Android. I make this declaration based on personal

 6 knowledge. If called as a witness, I could testify competently to the facts stated herein.

 7 Restrictions on Sideloading Warnings or Consent Screens

 8          2.     I understand that Epic has proposed that the Court should prohibit Google from

 9 warning users about the security risks of sideloading an app (i.e., direct downloading from the
10 internet or from an app store downloaded from the internet) unless Google has determined that an

11 app is “known” malware or the app’s developer has declined to participate in a generally available

12 “notarization-like” process. Google does not have any generally available “notarization-like”

13 process for Android apps so, in effect, Google would be limited to warning users about known

14 malware unless it undertakes the burden and expense of creating a new “notarization-like

15 process.”

16          3.     Limiting Google to warning users about “known” malware is a very significant
17 limitation that will degrade user security. When a user attempts to download and install an app, it

18 can be difficult or impossible to determine, at that moment in time, whether that app is malware.

19 In some cases, an app can be identified as “known malware” if Google has previously reviewed

20 that exact app and has classified it as malware. But bad actors constantly develop new variants of

21 malware, some forms of malware are capable of altering themselves (a property called

22 polymorphism), and some forms of malware are capable of obfuscating their code to defeat

23 scanning. As a result, in many cases, it will not be clear whether a particular app is malware at the

24 time of downloading and installation.

25          4.     Today, if Google Play Protect—security software on Android devices that include
26 the Google Mobile Services suite—does not recognize a sideloaded app as known malware, it may

27 nonetheless use other signals about the app to inform the user that the app carries elevated security

28 risk. For example, the app may use out-of-date software interfaces that do not incorporate the
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 1 latest Android security features or very few users may have installed the app. In other cases,

 2 Google Play Protect may not detect any signals that suggest that a particular app may be malware.

 3 Epic’s proposal means that, in all these scenarios, Google would not be able to warn users about

 4 the risks of sideloading because it will not know that the app is actually malware. This is a poor

 5 outcome from a security perspective.

 6          5.      Government agencies and industry participants have also warned users about the

 7 risks of sideloading.

 8          6.      For example, Europol has warned users to “[b]e cautious of links you receive in

 9 email and text messages that might trick you into installing apps from third party or unknown
10 sources.” A true and correct copy of a Europol document titled “Mobile Malware: Tips & Advice

11 to Protect Yourself,” available at

12 https://www.europol.europa.eu/sites/default/files/documents/Infosheet%20-

13 %20Private%20Users.pdf (downloaded April 29, 2024), is attached hereto as Exhibit A.

14          7.      Samsung has similarly warned users that “sideloaded apps from outside sources can

15 be a little like the Wild West—unregulated and potentially hazardous. The reason? They may

16 carry hidden malware designed to compromise your device or even your personal information.” A

17 true and correct copy of a Samsung webpage titled “What Is Sideloading (and Why Should You

18 Care)?,” available at https://www.samsung.com/uk/explore/life-hacks/what-is-sideloading-and-

19 why-should-you-care/ (downloaded April 29, 2024), is attached hereto as Exhibit B.

20          8.      Given the heightened risk of installing malware through sideloading, a user should

21 be made aware of the risks of sideloading at the time the user decides whether to enable

22 sideloading. In addition, Google should be permitted to warn users when a particular sideloading

23 installation raises additional concerns (e.g. out-of-date software interfaces). Without these

24 warnings, users could more easily install malware that may harm their device, violate their

25 privacy, or steal their financial data or money, among other common harms.

26          9.      I also understand that under Epic’s proposal, Google will be permitted to display

27 only certain narrowly-defined warnings or consent screens in connection with sideloading. In my

28 experience, Android malware often relies on deceiving users into granting the malware the
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 1 permission to be installed or to take certain harmful steps. This deception is often called “social

 2 engineering.” Limiting Google to presenting users with only narrowly defined app installation

 3 screens would make it more difficult to respond to the many ways in which malware attempts to

 4 deceive and harm users. These deceptive methods also often change as malware attackers evolve

 5 their strategy, making it particularly important to respond quickly to new variants of malware. For

 6 example, today, if Google learns that new variants of malware are abusing a certain Android

 7 functionality, it can take steps to warn users about that risk or require user additional consent

 8 before allowing a sideloaded app to access that functionality. Under Epic’s proposal, I understand

 9 that Google will not be able to take such steps to protect users.
10 Restrictions on Innovative Security Features

11          10.     Epic’s proposal also has negative implications for other innovative security features

12 that protect users. For example, Google has launched the Advanced Protection Program, which is

13 a set of optional security measures intended to protect against targeted malware attacks—that is,

14 malware attacks that are precisely aimed at specific users or groups of users. While any Google

15 account holder may enable Advanced Protection, it is designed to address the unique and

16 heightened risks faced by political dissidents, journalists, high-ranking government officials, and

17 high-profile business executives. If a user has enabled Advanced Protection, all sideloading is

18 blocked and the user is warned before installing any app from the Play store outside of a small set

19 of pre-approved apps. Epic’s proposals to restrict Google’s Android security mechanisms to

20 blocking “known malware” or apps that decline to participate in a security scanning process could

21 effectively require Google to shut down the Advanced Protection Program’s Android security

22 features for users who have already opted-in. This would put individuals who face targeted

23 attacks, like journalists and political dissidents, at a much higher risk.

24          11.     Android OEMs also have the ability to innovate on security issues and safeguard

25 their users from sideloading risks. To the extent that Epic’s proposed injunction applies to OEMs,

26 it would prevent OEMs from providing users with additional security features and protections. For

27 example, Xiaomi, an Android OEM, has added an additional sideloading warning and imposes a

28 mandatory ten-second countdown before the user may enable sideloading.
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 1          12.    A true and correct copy of a screenshot of a sideloading warning on a Xiaomi Mi

 2 10T Lite 5G Android device is attached hereto as Exhibit C.

 3          13.    Samsung has its own suite of Android security features, Samsung Knox, that works

 4 alongside the default features built into Android and Google Play Protect. Samsung has also

 5 recently announced an “auto blocker” feature that allows users to opt-in to block sideloading by

 6 default.

 7          14.    A true and correct copy of the Samsung webpage titled “Protect Your Device Your

 8 Way With Samsung Auto Blocker,” available at https://news.samsung.com/global/protect-your-

 9 device-your-way-with-samsung-auto-blocker (downloaded April 29, 2024), is attached hereto as
10 Exhibit D.

11 Requests from Government Agencies and Trade Groups

12          15.    Despite Google’s efforts to combat Android malware, significant security risks

13 remain. Government agencies around the world have requested Google’s assistance in addressing

14 this threat by making it more difficult for malware to be installed on and to spread on Android

15 devices. For example, Google has recently partnered with the Cyber Security Agency of Singapore

16 (CSA) to release new technology for Android devices in Singapore that will analyze and

17 automatically block the sideloading of apps that use sensitive permissions that are frequently

18 abused for financial fraud.

19          16.    A true and correct copy of the Google webpage titled “Piloting new ways of

20 protecting Android users from financial fraud, ” available at

21 https://security.googleblog.com/2024/02/piloting-new-ways-to-protect-Android-users-

22 from%20financial-fraud.html (downloaded April 29, 2024), is attached hereto as Exhibit E.

23          17.    Google developed this technology in response to a request from the CSA to help

24 stem a rising tide of malware harming Singaporean users. Epic’s proposal would prevent Google

25 from blocking this high-risk sideloading in Singapore and elsewhere.

26          18.    A true and correct copy of an August 22, 2023 email from Henry Tan, Deputy

27 Director, Cybersecurity Engineering Center, Cyber Security Agency of Singapore is attached

28 hereto as Exhibit F.
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 1          19.     Other government agencies have similarly requested that Google assist in

 2 responding to malware threats. For example, the Thai government’s Ministry of Digital Economy

 3 and Society has requested that Google’s Singapore-focused technology also be deployed in

 4 Thailand.

 5          20.     A true and correct copy of a February 15, 2024 letter from Prasert

 6 Jantararuangtong, Minister of Digital Economy and Society of Thailand, is attached hereto as

 7 Exhibit G.

 8          21.     The Brazilian Federation of Banks has similarly requested that Google “restrict

 9 sideloading entirely or make it significantly more difficult” because of “a worrying trend of
10 financial scams utilizing malicious mobile apps” where scammers “trick users into sideloading

11 apps containing malware.”

12          22.     A true and correct copy of a December 19, 2023 email from Walter Tadeu Pinto de
13 Faria, Deputy Director of Services at the Brazilian Federation of Banks (FEBRABAN), is attached

14 hereto as Exhibit H.

15 Notarization

16          23.     I understand that Epic proposes that Google could also block or warn users

17 regarding apps that refuse to go through a “notarization-like” review process. Epic’s proposal does

18 not contain any details regarding this process. In any event, building an app review process for

19 apps distributed outside of Play would require a significant investment of engineering and

20 operational resources. While it is difficult to estimate the precise cost of building or maintaining

21 such a system without detailed specifications for what the system would entail, a basic

22 notarization system would cost at least tens of millions of dollars per year to operate, and likely

23 over $100 million per year, and even at that level of spending the system would not provide the

24 same degree of safety as the app review process employed by the Play store today.

25          24.     Building such a system would also take a significant amount of time and could not

26 realistically be implemented in a few months. For example, Google would need to invest in

27 developing and maintaining new technology and infrastructure to allow non-Play developers to

28 submit apps to Google and to allow Google to accurately assess the risk of those apps. And to the
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 1 extent that this review process requires human review to provide adequate security assurances,

 2 Google would need to employ additional security analysts to review apps distributed outside the

 3 Play store.

 4          25.     A new notarization system would also carry substantial risks for Google, users, and

 5 developers because it is not clear that such a system could ever achieve the same level of safety as

 6 the Play store. I am not aware of any other consumer operating system that has developed a

 7 notarization system that would provide the same level of safety as the Play store.

 8 Pre-Installation

 9          26.     I also understand that Epic has proposed prohibiting Google from asking OEMs not
10 to pre-install any app or app store, regardless of the security, privacy, or user experience risks that

11 a particular app or app store could create. For example, Google has policies that require Android

12 OEMs who preload Google Mobile Services (GMS) apps to ensure that all preloaded apps on the

13 OEM’s devices safeguard user privacy, are not malware, do not contain illegal or harmful content,

14 disclose information regarding who created the app, and seek user permission for certain sensitive

15 operations. Preventing Google from enforcing these and other similar policies would harm users.

16 Some OEMs, in the interest of cutting costs or raising revenue from placement fees, may elect to

17 include apps that they have not rigorously vetted or to include apps that compromise user security

18 or privacy.

19          27.     In fact, consumer privacy organizations have advocated for Google to take steps to
20 reduce the prevalence of harmful pre-installed apps on Android devices. In January 2020, Privacy

21 International issued an open letter to Google’s CEO requesting that Google take more aggressive

22 actions to address rising malware that is preinstalled on Android devices by OEMs.

23          28.     A true and correct copy of the Privacy International webpage titled “An open letter
24 to Google,” available at https://privacyinternational.org/advocacy/3320/open-letter-google,

25 (downloaded April 29, 2024) is attached hereto as Exhibit I.

26 Security-Sensitive Android APIs

27          29.     Android includes certain APIs that provide powerful and security-sensitive

28 functionality that can pose a significant risk of harm to a user or her device. For example, there are
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 1 APIs that allow an app to perform a factory reset on a device (i.e., delete all of the apps and

 2 content on the device), delete other apps, place phone calls, and connect to nearby Bluetooth

 3 devices. In the wrong hands, these APIs could be used to harm users, such as by deleting the

 4 phone dialing app when a user tries to call 911, placing calls to premium numbers that incur a

 5 charge on the user’s phone bill, or surreptitiously connecting a user’s device to an illicit Bluetooth

 6 device to track the user’s physical location.

 7          30.    OEMs who make Android devices often need access to these sensitive APIs in

 8 order to configure their devices and provide them with custom functionality. For example, an

 9 OEM may design the device to automatically connect over Bluetooth to certain compatible
10 hardware (such as headphones) or an OEM may include software that manages factory resets that,

11 for example, allows users to remote reset a lost device. That functionality would not be possible if

12 a user were required to grant permission (because the device is lost) but would be extremely

13 harmful if it could be accessed by any app without the device OEM’s approval.

14          31.    Because these APIs are highly sensitive, Android includes two classes of these
15 APIs: one class that is available to any developer if the user grants the developer permission to use

16 it and a second class that is available only to the OEM who made the Android device. This latter

17 OEM-only class does not require explicit user permission in order for the OEM to access the API.

18 This framework balances competing interests by allowing OEMs to build advanced functionality

19 for their devices but also protecting users from bad actors who would abuse these APIs.

20          32.    If Google were required to provide all apps—not just the OEM’s preinstalled
21 apps—with access to all APIs on the device, Google would either have to remove the OEM-

22 specific APIs (which would make it more difficult for OEM’s to design advanced functionality) or

23 provide all apps with access to the OEM-specific APIs (which would allow malicious apps to

24 harm users).

25 The Android OS Development Process

26          33.    Epic is requesting certain remedies that will necessarily require changes to the

27 Android OS. For example, Epic is requesting that Google shall be required to provide users with

28 the ability, subject to a one-time user permission, to change the ownership for any or all of the
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 1 apps installed on their device, such that a third party app store becomes the update owner for those

 2 apps. And, as discussed above, Epic is requesting numerous changes to the way Android

 3 approaches security including (1) changes to Android’s security warnings; (2) modifications to the

 4 Android operating system to support a “notarization-like” process; and (3) modifications to

 5 Android’s permissions system for highly sensitive APIs.

 6          34.    These proposals would require material changes to Android OS, as they go beyond

 7 what the OS is currently designed and coded to do.

 8          35.    Developing and releasing the source code for a new version of the Android

 9 platform is a complex process that takes a year or more. The Android Open Source Project
10 (AOSP) maintains a complete software stack that can be adapted by OEMs to run on their own

11 hardware.

12          36.    During the OS development process, Google maintains the current stable version of

13 Android (e.g., Android 14 that was released last year) separate from any unstable experimental

14 work on potential future releases. At any given moment, there is a current latest release of the

15 Android platform that device builders and contributors work on to improve and prepare for mass

16 distribution (e.g., fixing bugs, launching new devices, experimenting with new features, etc.).

17          37.    In parallel, Google works internally on subsequent versions of the Android

18 software. When the next version is ready, the software is published to the public source tree and

19 becomes the new latest release. First, the new software is customized by OEMs, and put into a

20 system image for a device. Second, devices are put through various forms of certification,

21 including, among other things, government regulatory certification for each of the regions the

22 phones will be deployed. The code also goes through mobile network operator testing. This is an

23 important and time-consuming phase of the process, because it helps detect software bugs which

24 could significantly undermine the integrity and viability of the software release.

25          38.    Third, when the release is approved by regulators and mobile network operators,

26 the manufacturer begins mass producing devices, and we begin releasing the source code.

27          39.    Simultaneous to mass production, the Google team executes several involved

28 processes to prepare the open-source release that meets the requisite standards for broad
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 1 consumption. These efforts include making final API changes, updating documentation (to reflect

 2 any modifications that were made during qualification testing, for example), preparing an SDK for

 3 the new version, and launching the platform compatibility information.

 4          40.     The entire process of developing, testing, and releasing a new version of Android

 5 typically takes a year or more.

 6          41.     Once a final version of Android has been publicly released, Google does not

 7 typically update old versions of Android other than to release critical security patches. This is

 8 important because changing the functionality of old versions of Android can cause apps to

 9 unexpectedly malfunction if developers did not build their apps to anticipate the new changes.
10 Google also does not have any mechanism to force updates to old versions of Android because

11 OEMs control the availability of updates on their devices.

12          42.     With respect to app ownership (for the purpose of updating apps), the latest version

13 of Android OS, named Android 14, was released in October 2023. The release of Android 14

14 followed the general outline of development steps described above. In that release, Google

15 introduced several PackageInstaller APIs that allow app stores to improve their user experience.

16 For example, Google enabled new functionality related to the way installers (including app stores)

17 can update apps installed on a user’s device. Specifically, Android 14 allows an installer of an app

18 to indicate that it intends to be responsible for future updates for that app. Only the update owner

19 is permitted to install automatic updates to the app. Update ownership enforcement helps to ensure

20 that users receive updates only from the expected app store, i.e., the original installer.

21          43.     Under Android 14, any other installer must receive explicit user approval in order

22 to install an update. If a user decides to proceed with an update for an app from another source,

23 and provides explicit approval, update ownership is lost by the original installer. At that point, any

24 installer can provide updates to the installed app.

25          44.     My understanding is that Epic is seeking to fundamentally change this app update

26 ownership protocol, which would require significant and burdensome changes to Android OS and

27 functionality that Android has never supported. The approach would be different from what

28 Google released in Android 14, which requires an app-by-app consent process which, among other
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 1 things, preserves user choice and, assuming the user provides consent for a given app, does not

 2 permit a change in update ownership from Store A to Store B, but rather removes update

 3 ownership permission from Store A. Thus, Google, and its Android contributors and partners,

 4 would need to create new software, test it, and launch it under the Android protocol set forth

 5 above.

 6

 7          I declare under penalty of perjury that the foregoing is true and correct. Executed on this

 8 ____
   1st                     Palo Alto, CA
        day of May 2024 in _________________________________.
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12                                                     David Kleidermacher

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